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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

                                              §
LBS INNOVATIONS, LLC,                         §
                                              §
     Plaintiff,                               §
                                              §
v.                                            §   CASE NO. 2:12-CV-00407-JRG
                                              §
BP AMERICA INC., et al.,                      §   LEAD CASE
                                              §
     Defendants.                              §
                                              §


                          MEMORANDUM OPINION AND ORDER

         Before the Court is Defendants’ Consolidated Motion for Summary Judgment of

Noninfringement (Dkt. No. 472), filed October 15, 2013. The Court heard argument on this

Motion on December 12, 2013, and announced from the bench on January 3, 2014, that the

Motion would be Granted-in-Part. This opinion explains the Court’s reasoning and orders specific

relief in conformity with such ruling.


     I. BACKGROUND

         Plaintiff filed suit against a variety of defendants on September 14, 2011, alleging

infringement of Claim 11 of United States Patent No. 6,091,956 (“the ’956 patent”), entitled

“Situation Infromation System.” The patent relates generally to a system for providing up-to-date

information relevant to a user’s location. The accused products are all “store locator”

functionalities of Defendants’ websites, which provide information to Defendants’ customers

regarding the location of Defendants’ brick-and-mortar stores as well as information pertaining

to those stores.
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   II. LEGAL STANDARDS

       Summary judgment is proper if the pleadings and evidence show that “there is no genuine

issue as to any material fact and the moving party is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248-55 (1986). A “genuine issue” is an issue that “can be resolved

only by a finder of fact because . . . [it] . . . may reasonably be resolved in favor of either party.”

Anderson, 477 U.S. at 248. When the summary judgment movants demonstrate the absence of a

genuine dispute over any material fact, the burden shifts to the non-movant to show there is a

genuine factual issue for trial. Celotex, 477 U.S. at 323-24. The Court must draw all reasonable

inferences in favor of the non-moving party. Monarch Knitting Machinery Corp. v. Sulzer

Morat GmbH, 139 F.3d 877, 880 (Fed. Cir. 1998).

       A determination of infringement requires a two-step analysis. Gentry Gallery, Inc. v.

Berkline Corp., 134 F.3d 1473, 1476 (Fed. Cir. 1998). “First, the claim must be properly

construed to determine its scope and meaning. Second, the claim as properly construed must be

compared to the accused device or process.” Id. (quoting Carroll Touch, Inc. v. Electro Mech.

Sys., Inc., 15 F.3d 1573, 1576 (Fed. Cir. 1993)). “Literal infringement requires that every

limitation of the patent claim be found in the accused device.” Gen. Mills, Inc. v. Hunt-Wesson,

Inc., 103 F.3d 978, 981 (Fed. Cir. 1997).


   III. ANALYSIS

       A.      The Data Field Limitation

       Defendants’ first argument concerns the “data field” limitation of Claim 11. Claim 11

recites a method of communicating certain data to a user comprising, among other things,

“searching each of one or more unique mappable information code sequences . . . for a field
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containing geographical coordinates, said each of said code sequences includes an item reference

field, a name field, a location field including said geographical coordinates, and a data field.”

The Court has construed “data field” to mean

       a field that provides: (1) information as to whether the item’s symbol, icon, or
       name is capable of being included with other items in an executably selectable
       menu that appears on the user’s computer display and (2) information as to
       whether the item is to be included in a map displayed on the user’s computer, and,
       if displayed, whether the item’s symbol, icon, or name can be subsequently
       selected to provide additional information about the item.

(Dkt. No. 395, at 29). Defendants argue that none of the accused locators satisfy the “data field”

limitation of the “searching” step of Claim 11 of the ’956 patent.

       Plaintiff argues that it has identified “at least one or more fields searched by a user’s

computer that include information regarding whether and how a mappable item should be

displayed on a map satisfying the Court’s construction.” (Dkt. No. 477, at 6). Defendant argues

that no single identified field contains all of the data specified by the Court above, and that thus

no single “data field” and the accused products do not infringe the ’956 patent.

       Defendants do not contend that any single field of the accused locators contains all of the

information required in the court’s construction, but argues that no single field is required to

meet the data field limitation. It argues instead that if, by combining the contents of multiple

fields, all of the information required by the data field limitation is met, then the limitation as a

whole is met. In support of this argument Plaintiff cites the familiar Baldwin rule that the

indefinite article “a” means “one or more.” See Baldwin Graphic Sys., Inc. v. Sibert, Inc., 512

F.3d 1338, 1342 (Fed. Cir. 2008). Plaintiff misapplies this rule here. A code sequence

comprising “a” data field must include one or more data fields—that is, one or more fields, each

of which contains all information necessary to be considered a “data field.” It is not the case that
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the data field limitation should be read as a requirement that one or more fields, combined, may

be considered to be a data field if they contain adequate information.

       Plaintiff’s argument is essentially that if multiple fields, taken together, perform the job

of a single data field, then they satisfy the data field limitation. This is effectively an argument

under the doctrine of equivalents, rather than an argument about literal infringement. If the claim

requires a single data field, and no such field exists, then the claim is not infringed. Thus,

summary judgment of no literal infringement is appropriate here.

       Defendants also ask for summary judgment of noninfringement of the data field

limitation under the doctrine of equivalents. On this issue, however, Defendants are on much

less secure ground. Plaintiffs’ expert report establishes the existence of an issue of material

fact as to whether Defendants’ locators contain an equivalent of the data field by simply having

multiple fields perform the same function in the same way, with the same result. See Voda v.

Cordis Corp., 536 F.3d 1311, 1326 (Fed. Cir. 2008). Accordingly, summary judgment of

noninfringement is not appropriate because a triable issue of material fact exists as to whether

Defendants infringe under the Doctrine of Equivalents.


       B.      Pre-Lawsuit Inducement

Defendants also ask the Court for summary judgment that Defendants cannot be liable for

induced infringement stemming from infringement prior to the dates on which Plaintiff filed suit

against each Defendant. Plaintiff has stipulated that Defendants had no knowledge of the ’956

patent prior to the filing of Plaintiff’s suit (Dkt. No. 514, at 8). Such knowledge is a prerequisite

for liability under a theory of induced infringement. Global-Tech Appliances, Inc. v. SEB S.A.,

131 S.Ct. 2060, 2068 (2013). Accordingly, there can be no triable issue of material fact as to
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induced infringement before the date on which it is stipulated that Defendants first became aware

of the existence of the ’956 patent.


   IV. CONCLUSION

       Defendants have demonstrated that they are entitled to summary judgment of no literal

infringement on the basis of the lack of a single data field in the accused products. They have

also .demonstrated that they are entitled to summary judgment of no induced infringement prior

to Plaintiff’s filing of a lawsuit against Defendants. Accordingly, Defendants’ Motion is

GRANTED IN PART consistent with the opinion above. In all other respects, the Court finds

that Plaintiffs have produced sufficient evidence to raise triable issues of material fact which

precludes the entry of summary judgment. Accordingly, in all respects other than those specifically

set forth above, Defendants’ Motion is DENIED.

       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 6th day of January, 2014.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
